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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

ANDREW H. WARREN,

             Plaintiff,
                                              Case No. 4:22-cv-302-RH-MAF
v.

RON DESANTIS, individually and in his
official capacity as Governor of the State
of Florida,

          Defendant.
_________________________________/

                          NOTICE OF APPEARANCE

      PLEASE TAKE NOTICE of the appearance of Robert S. Schenck and

Zachary P. Grouev as co-counsel for Defendant Ron DeSantis, individually and in

his official capacity as Governor of the State of Florida.
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Respectfully submitted on November 22, 2022.

                            ASHLEY MOODY
                            ATTORNEY GENERAL

                            Robert S. Schenck (NYBN 5948039)
                            SOLICITOR GENERAL FELLOW

                            /s/ Zachary P. Grouev
                            Zachary P. Grouev (FBN 1038629)
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                            CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing has been

furnished by electronic service through the CM/ECF Portal on November 22, 2022,

to all counsel of record.


                                                /s/ Zachary P. Grouev
                                                Zachary P. Grouev




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